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8                                UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
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11    TALIA THORSEN,                           CASE NO. 8:20-cv-248-JWH-JDEx
12                          Plaintiff,
13           vs.                               JUDGMENT PURSUANT TO RULE 68
14    COSTCO WHOLESALE
      CORPORATION, a Washington
15    Corporation; and DOES 1-25, Inclusive,
16                          Defendants.
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       Case No. 8:20-cv-248-JWH-JDEx               JUDGMENT PURSUANT TO RULE 68
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1            WHEREAS, Plaintiff TALIA THORSEN (“Plaintiff”) commenced this action
2     by filing a complaint on August 16, 2019, for premises liability and negligence; and
3            WHEREAS, on September 20, 2021, Defendant COSTCO WHOLESALE
4     CORPORATION (“Costco”) made an Offer of Judgment in this matter pursuant to
5     Rule 68 of the Federal Rules of Civil Procedure;
6            WHEREAS, on October 1, 2021 Plaintiff accepted Costco’s offer;
7            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
8     DECREED THAT:
9            1.      Costco shall pay plaintiff TALIA THORSEN the sum of $250,000.00
10    (TWO HUNDRED FIFTY THOUSAND DOLLARS AND ZERO CENTS), pursuant
11    to the Rule 68 offer of Judgment, inclusive of attorneys’ fees and costs.
12           2.      This judgment shall be in full satisfaction of all federal and state claims or
13    rights that Plaintiff may have to damages, or any other form of relief, arising out of the
14    alleged acts or omissions of Costco, in connection with the facts and circumstances that
15    are the subject of this action.
16           3.      The offer of judgment was made for the purposes specified in Rule 68 of
17    the Federal Rules of Civil Procedure and is not to be construed as an admission of
18    liability by Costco; nor is it an admission that Plaintiff has suffered any damages.
19           4.      Acceptance of the offer of judgment has acted to release and discharge
20    Costco from any and all claims that were or could have been alleged by Plaintiff in this
21    action. Acceptance of the offer of judgment has waived plaintiff’s right to any claim for
22    interest on the amount of the judgment.
23           IT IS SO ORDERED.
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25    Dated: October 6, 2021
26                                                    Irene Vazquez, Deputy Clerk
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